~ Case 1:05-cv-01051-.]DT-STA Document 13 Filed 06/21/05 Page 1 of 3 /§/g;\z/r%e|D 7
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

Judy Akers

109 Gibson Highway, 6B

Milan, Tennessee 38358

SSN: XXX-XX-XXXX
Plaintiff,

 

v. Civil Action No. 05-1051T
Jo Anne B. Bamhart
Commissioner of
Social Secun`ty,

Defendant.

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintist brief, and, because the United States Attorney
representing the government in this matter consents to the additional time requested,
It is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of time, up to and including July 20, 2005, to file Plaintiff’s brief in support of

her Complaint. :

Distri??é ourt Judge

'?'@W“'°"m

This document entered on the docket he tin compliance
with sure se and. or 79 (a) FHCP on _U§LLQS_

Case 1:05-cv-01051-.]DT-STA Document 13 Filed 06/21/05 Page 2 of 3 Page|D 8

Approved for entry:

 

r Stani`leld/
Aoo omey for P am lff
P. O. Box 3338
Jackson, TN 38303- 33
901-424- 1305
TN BPR # 006600

Certit`lcate of Service
l certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Attorney, 800 Federal Offlce Building, 167 North Main
Street, Memphis, TN 38103, this the 20"’ day of June, 2005.

  

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01051 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. Box 3338

Jacl<son, TN 38303--333

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .1 ames Todd
US DISTRICT COURT

